OPINION — AG — CAN OR CANNOT A EXPERT WITNESSES, WHO TESTIFY FOR THE STATE IN A CRIMINAL CASE, MAY LAWFULLY BE PAID A FEE FOR SUCH TESTIMONY FROM THE COURT FUND, WHICH FEE WOULD BE IN EXCESS OF REGULAR WITNESS FEES ALLOWED BY 28 O.S.H. 81 ET SEQ., AND WHICH REGULAR WITNESS FEE ARE PROPERLY PAID FROM THE COURT FUND UNDER 62 O.S.H. 323? — AFFIRMATIVE CITE: OPINION NO. DECEMBER 1, 1937 — VASSAR (JAMES P. GARRETT)